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2
                                 UNITED STATES DISTRICT COURT
3
                                     DISTRICT OF NEVADA
4
5     UNITED STATES OF AMERICA,
6           Plaintiff,                                   2:10-cr-0356-LDG-LRL
7     v.                                                 ORDER
8     MICHAEL TOREN, et al,
9           Defendants.
10
11         THE COURT HEREBY ORDERS that defendant Toren’s motion for judgment of acquittal
12   (#278) is DENIED as moot.
13
14         DATED this _____ day of September, 2013.
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16                                                    ______________________________
                                                      Lloyd D. George
17                                                    United States District Judge
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